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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
)
v. ) Criminal Action No. 21-599 (RBW)
)
DONNIE DUANE WREN and THOMAS __ )
HARLEN SMITH, ) FILED
) AR 0 1 2023
Defendants. ) MAR 0 |
) Cletk. U.S District & eee,
Courts for the District of Lotumble
ORDER

Upon consideration of the government's Motion for Extension of Time to Respond to
Pretrial Motions, ECF No. 69, and for good cause shown, it is hereby

ORDERED that the government's Motion for Extension of Time to Respond to Pretrial
Motions, ECF No. 69, is GRANTED. I[tis further

ORDERED that, on or before March 17, 2023, the parties shall file their oppositions to
the pre-trial motions currently pending in this case. It is further

ORDERED that, on or before March 24, 2023, the parties shall file any replies in support
of the pre-trial motions currently pending in this case. It is further

ORDERED that the pre-trial conference scheduled for March 13, 2023, is

CONTINUED to April 5, 2023, at 11:00 a.m. via video conference. |

SO ORDERED this Ist day of March, 2023. 1. fs

REGGIE B. WALTON
United States District Judge

 

 

'In its November 28, 2022 Order, the Court originally specified that “[b]ecause the current iteration of the Court’s
CARES Act authorization for remote hearings will expire prior to the pre-trial conference scheduled in this case, the
Court w[ould] conduct this hearing in-person.” Order at 1 n.1 (Nov. 28, 2022), ECF No. 50. However, because the
Court’s CARES Act authorization for remote hearings has now been extended through May 8, 2023, the Court will
hold this pre-trial conference via videoconference.
